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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )         2:11cr180-MHT
DERIC WILSON                      )              (WO)

                        OPINION AND ORDER

    This cause is before the court on defendant Deric

Wilson’s motion to continue, which is unopposed.               For the

reasons   set   forth    below,    the    court   finds     that   jury

selection and trial, currently set for December 5 , 2011,

should be continued pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       In pertinent part, The Act provides:
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           “In any case in which a plea of not
           guilty is entered, the trial of a
           defendant charged in an information or
           indictment with the commission of an
           offense shall commence within seventy
           days from the filing date (and making
           public)    of   the    information    or
           indictment, or from the date the
           defendant has appeared before a judicial
           officer of the court in which such
           charge is pending, whichever date last
           occurs.”

18 U.S.C. § 3161(c)(1).                 The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”          §    3161(h)(7)(A).                 In    granting       such    a

continuance,         the    court        shall    consider,           among   other

factors, whether the failure to grant the continuance

would     “result           in      a      miscarriage           of      justice,”

§   3161(h)(7)(B)(i),             or     “would   deny         counsel    for    the

defendant     or      the        attorney      for    the       Government       the

reasonable       time      necessary       for    effective           preparation,

taking    into       account      the     exercise        of   due    diligence.”

§ 3161(h)(7)(B)(iv).


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      The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Wilson in a speedy trial.

Granting a continuance is necessary to assure that Wilson

and    the   government      have    sufficient      time    to   prepare

effectively for trial.

      Defense      counsel      filed     a   motion      requesting       a

psychiatric evaluation of Wilson to assess his competence

to stand trial or enter a plea agreement and to shed

light on his competence at the time of his alleged

criminal conduct.           The court has orally granted this

motion, which is the basis of the continuance motion now

before the court.           Allowing medical professionals the

time to complete this examination and to submit a report

to the court is essential to allowing defense counsel and

the    government      an    opportunity      to   determine      how     to

proceed, including how to prepare for trial and whether

and how to negotiate a plea.             In addition, a continuance

is necessary to permit the court an opportunity to assess



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whether there is reasonable cause to believe Wilson is

not competent to stand for trial or enter into a knowing,

voluntary, and intelligent plea.              Continuing the trial

date, therefore, not only serves the ends of justice by

enabling   effective     preparation,        but   is   necessary      to

ensure that the disposition of this case comports with

due process and the constitution.

                                 ***

    Accordingly, it is ORDERED as follows:

    (1) Defendant Deric Wilson’s motion for continuance

(Doc. No. 33) is granted.

    (2)    The   jury   selection      and    trial,    now   set      for

December 5, 2011, are reset for April 16, 2012, at 10:00

a.m. in Courtroom 2FMJ of the Frank M. Johnson, Jr.

Federal    Courthouse       Complex,         One   Church      Street,

Montgomery, Alabama 36104.

    DONE, this the 14th day of November, 2011.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
